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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


   BRIGHT DATA LTD.

              Plaintiff,                   Case No. 2:21-CV-00225-JRG-RSP

        v.
   NETNUT LTD.
              Defendant.




     PLAINTIFF BRIGHT DATA’S REPLY PURSUANT TO COURT ORDER (DKT NO.
   176) IN SUPPORT OF ITS MOTION FOR CORRECTIVE ACTIONS AND SANCTIONS
       FOR VIOLATION OF PROTECTIVE ORDER AND ABUSE OF SETTLEMENT
                                  PROCESS
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          NetNut unequivocally violated the confidentiality afforded under the Protective Order and

   Settlement Agreement. It did so just days after entering the settlement and less than 48 hours after

   Bright Data moved to dismiss its cases. If parties can blatantly ignore confidentiality, no rational

   party in this district would ever enter into a confidential settlement, so Bright Data asks the Court

   to protect that process. NetNut’s arguments do not explain or excuse its flagrant violations. Bright

   Data settled this case based on representations recited in the agreement that



                         .

                       But none of that is evident through the misleading, one-sided, and unnecessary

   press releases and interviews NetNut and its counsel made public.

          NetNut’s parent Safe-T                                                       did not need to

   disclose settlement terms to meet SEC requirements. Moreover, NetNut had agreed that



                       It did no such thing. NetNut certainly did not need to issue a press release or

   give interviews to the press as did the Finnegan firm. The damage was immediate. The same day

   the press releases issued,




                                                                                          Ex. R at 1-2.

   Despite this immediate notice, NetNut and Finnegan failed to effect any remedial changes and the

   disclosed confidential settlement terms remain publicly available.         NetNut and Finnegan’s

   complete disregard for the protections afforded by the Court undermines the ability of parties to

   enter settlements and the Court’s interest in parties resolving disputes without Court intervention.



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                                                                                                 Without

   disclosing any confidential information, Safe-T could have filed an update indicating that the

   dispute had been resolved. 2 Ex. O at 2.

          In addition, under the securities laws 3, Safe-T had no obligation to issue a press release

   of any kind. Ex. O at 2. Clearly, Safe-T filed its press release concurrently with the SEC in an

   improper attempt to circumvent the confidentiality of the Settlement. Such disclosure was a

   violation of the Protective Order as well as the Settlement Agreement, which required



                                                                      Ex. A at 3.

       B. NetNut Cannot Argue That the Protective Order Did Not Apply to the Settlement
          Agreement As the “CONFIDENTIAL” Designation Was Clear and Both Sides Relied Upon
          It During the Settlement Negotiations and Resulting Settlement

          The Settlement Agreement is clearly designated

                                                                           as were the related preceding

   negotiations and written drafts. Ex. A at 1. Despite this designation, NetNut now makes the

   baseless argument that the Protective Order only protects “discovery.” Dkt. 172 at 14. This

   argument is clearly wrong and contrary to the express language of the Protective Order. While the

   Protective Order includes discovery, it is clearly broader in scope as it expressly states in paragraph

   4, “this Order governs, without limitation … stipulations.” Dkt. 58 at 2-3. Further, NetNut’s

   argument is clearly baseless as both parties relied upon the

   designations to protect the settlement negotiations and resulting Settlement.             The Parties


   2
     On May 31, 2022 Safe-T filed a 6-K disclosing its CEO Shachar Daniel as stating “we are pleased
   to announce the settlement and dismissal of our outstanding patent litigation, which is expected to
   contribute, together with our cost reduction plan, to a significant reduction in the Company’s
   overall general and administration costs in the third quarter of 2022 and onward.” Ex. Q at 1.
   3
     With regard to NASDAQ, “materiality” under NASDAQ’s rules is the same as under the
   securities laws. Ex. O at 1.
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   understood these protections to apply, consistent with the designation, and would not have engaged

   in these talks and entered the Settlement without such protections.

          NetNut argues that the Settlement Agreement limits the scope of the Protective Order. That

   is wrong, and none of the cases cited by NetNut required arbitration in the face of breach of a

   Protective Order. 4 Separate from a settlement agreement’s confidentiality provisions, courts have

   an independent authority to interpret, modify, and/or enforce their own Protective Orders. See e.g.

   Crawford v. Senex Law P.C., 2022 U.S. Dist. LEXIS 49645, *18-19 (W.D. Va. March 21, 2022).

   Similarly, settlement terms cannot preclude a Court from exercising its inherent power to control

   its docket. See Republic Ins. Co.v PAICO Receivables LLC, 383 F.3d 341, 348-349 (5th Cir 2004)

   (Denying motion to compel arbitration despite settlement agreement arbitration clause with “no

   waiver” provision). Neither the Protective Order nor the Settlement Agreement include any terms

   proscribing the applicability of the Protective Order and NetNut has identified no such provisions.

   Such a limitation would make no sense. There is no dispute that NetNut’s counsel of record,

   Finnegan, is subject to the Protective Order and barred from disclosing Bright Data’s confidential

   information. However, as Finnegan is not a party to the Settlement, the arbitration provision could

   not apply to Finnegan. Under NetNut’s argument, Finnegan would be bound by the Protective

   Order during negotiations, but freely able to violate the confidentiality of the Settlement as soon

   as it was executed. Such an argument is clearly meritless and contrary to the Protective Order.

       C. NetNut’s Previous Breaches of Confidentiality of the November 8, 2021 NetNut I
          Settlement Does Not Justify the Breach of the May 15, 2022 Settlement of NetNut II


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     NetNut takes Wash. Nat. Ins. Co. v. Jefferies & Co., Inc. out of context as that court expressly
   found that there was no disclosure of “confidential information” under the protective order. 1992
   U.S. Dist. LEXIS 11292, *2-4 (N.D. Ill. July 27, 1992). Similarly, VanLeeuwen v. Farm Credit
   Admin. is inapposite because that court recognized that a protective order could be violated
   separate from the settlement agreement. 600 F.Supp. 1173, 1177 (D. Or. 1984)(“The protective
   order is not a part of the settlement agreement. Violation, if there was one, does not justify setting
   aside the judgment.”) (emphasis added)
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          Having been caught broadly publishing confidential terms of the Settlement through its

   one-sided press release, NetNut wrongly asserts that its current breach of the Protective Order and

   the May 15, 2022 Settlement of this case is permitted because NetNut previously disseminated

   confidential terms of the November 8, 2022 settlement. That argument is without merit. First,

   NetNut never notified Bright Data of its disclosure of confidential terms from the first settlement

   and Bright Data only learned of this first disclosure after discovering NetNut’s disclosure of the

   confidential settlement at issue here. Having failed to notify Bright Data of its disclosures

   regarding the first settlement, NetNut cannot assert that Bright Data consented to any such

   disclosure or otherwise waived any rights to enforce the confidentiality of the Settlement

   Agreement under the Protective Order and express terms of the Settlement Agreement itself.

          In addition, NetNut never made a written request that Bright Data remove its

   confidentiality designation of the settlement terms at issue, as permitted under paragraph 19 of the

   Protective Order.




                                                                        Ex. A at 3 (emphasis added).

   There is no dispute that Bright Data did not authorize NetNut or Finnegan to disclose this

   confidential information.

          Neither NetNut nor Finnegan have effected any corrections, including the removal of

   confidential Settlement terms from still public SEC filings and publications. Bright Data requests

   that the Court grant any and all sanctions that the Court deems appropriate.



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   Dated: June 14, 2022                     Respectfully submitted,

                                            By: /s/ Ronald Wielkopolski
                                            Elizabeth L. DeRieux
                                            State Bar No. 05770585
                                            Capshaw DeRieux, LLP
                                            114 E. Commerce Ave.
                                            Gladewater, TX 75647
                                            Telephone: 903-845-5770
                                            ederieux@capshawlaw.com

                                            J. Mark Mann
                                            G. Blake Thompson
                                            Mann | Tindel | Thompson
                                            300 West Main
                                            Henderson, TX 75652
                                            mark@themannfirm.com
                                            blake@themannfirm.com
                                            Office 903-657-8540
                                            Marshall Office 903-472-4294
                                            Tyler Office 903-596-0900
                                            Waco Office 254-776-3336

                                            Korula T. Cherian
                                            Robert Harkins
                                            Cherian LLP
                                            1936 University Ave, Ste. 350
                                            Berkeley, CA 94704
                                            sunnyc@cherianllp.com
                                            bobh@cherianllp.com

                                            Thomas M. Dunham
                                            Ronald Wielkopolski
                                            J. Michael Woods
                                            Cherian LLP
                                            1901 L St. NW, Suite 700
                                            Washington, DC 20036
                                            tomd@cherianllp.com
                                            ronw@cherianllp.com
                                            michaelw@cherianllp.com

                                            Attorneys for Plaintiff
                                            Bright Data Ltd.


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                                    CERTIFICATE OF SERVICE
           I hereby certify that all counsel of record who are deemed to have consented to electronic

   service are being served this 14th day of June 2022, with a copy of this document via CM/ECF.



                                                /s/ Ronald Wielkopolski


                CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL
          I hereby certify that the foregoing document is being filed under seal pursuant to the

   Protective Order entered in this case.

                                                /s/ Ronald Wielkopolski




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